IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No. 20-00130-01-CR-W-RK
BRIAN HUDNALL,
Defendant.
PLEA AGREEMENT

Pursuant to Rule |1(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Timothy A. Garrison, United States Attorney, and Kathleen D. Mahoney,
Assistant United States Attorney, and the defendant, Brian Hudnall, represented by
James R. Hobbs.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to waive indictment and plead guilty
to Count One of the Information charging him with a violation of 18 U.S.C. § 1956(h), conspiracy
to commit money laundering. The defendant also agrees to the forfeiture allegation in the

Information. The defendant also agrees to pay restitution to the victims of the underlying

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fraud scheme. The parties agree on the amount of loss and corresponding restitution will be
determined by the court at sentencing. By entering into this plea agreement, the defendant admits
that he knowingly committed this offense, and is in fact guilty of this offense.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the offenses

to which he is pleading guilty are as follows:

Brian Hudnall owned and operated a business called DonDon LLC,
incorporated in Texas. DonDon maintained a bank account at Bank Liberty,
Liberty, Missouri, from May |, 2018 to November 30, 2018. Thereafter, DonDon
had a bank account at the Pony Express Bank, also in Liberty, Missouri.

Phillip Hudnall is Brian Hudnall’s brother. Phillip Hudnall was one of the
owners of BirdDog Business Group LLC. Phillip Hudnall and his co-conspirators
proposed an opportunity to high net worth individuals to invest in the purchase,
refurbishing and sale of used oil equipment. Phillip Hudnall informed investors
that their principal would be returned within nine months along with 20 -30%
interest. Phillip Hudnall outlined the process for the investors as follows:

° Our field service engineer or our contact at the large oil company reaches
out to BirdDog Business Group LLC and informs us that the midsize
company has a need for specific equipment that the large company currently
has in inventory.

° BirdDog Business Group LLC reaches out to investors who are interested
in loaning the funds in order to purchase and refurbish the equipment.

° After purchasing the equipment, it is immediately shipped to National
Oilwell Varco where refurbishment usually takes 60-120 days.

e When refurbishment is complete, the equipment is shipped directly to the
end buyer who has 30 days to pay the invoice for the equipment.

° Upon receipt of funds, we immediately wire or send a check to the investor.

Phillip Hudnall informed the investors that BirdDog had completed two
successful transactions. Phillip Hudnall informed the investors that Completed
Transaction | involved a loan of $244,000 with a loan rate of 30%. Phillip Hudnall
represented that the loan was funded on August 16, 2018, and the transaction was
completed on January 28, 2019. Phillip Hudnall represented that the principal of
$244,000 was returned along with interest received of $73,200.

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Phillip Hudnall informed the investors that Completed Transaction 2
involved a loan of $490,000 with a loan rate of 30%. Phillip Hudnall represented
that the loan was funded on September 5, 2018, and the transaction was completed
on January 28, 2019. Phillip Hudnall represented that the principal of $490,000
was returned along with interest received of $147,000.

On or about January 28, 2019, Phillip Hudnall requested that Brian Hudnall
create documents as proof of the prior successfully completed transactions.
Brian Hudnall executed a check on the DonDon Bank Liberty account in the
amount of $750,500, payable to STS LLC, an early investor in the “equipment
refurbish” scheme. The memo line on the check stated “Sale of Equipment”.
DonDon’s Bank Liberty XX4541 account was closed in November 2018.
Brian Hudnall was the sole signer on DonDon’s Bank Liberty account XX4541.

Also on or about January 28, 2019, Brian Hudnall wrote a check on the
closed DonDon Bank Liberty account XX4541 payable to Kansas Oil Reserves
LLC in the amount of $378,200. Brian Hudnall also created and signed a
memorandum from DonDon to Kansas Oil Reserves LLC which stated the check
was your “proportionate share of funds from the sale of (2) Canrig Series 500
Top Drives”.

These checks and the memorandum were sent to investors by
Phillip Hudnall’s partner in BirdDog as proof of the prior successful transactions.
In fact, no prior completed transactions occurred and no monies were received from
the sale of any oil equipment including any principal or interest.

From February through June 2019, Phillip Hudnall transferred
approximately $4.1 million from the BirdDog Oil Equipment LLC Bank of
America account to the DonDon LLC Pony Express Bank account in Liberty,
Missouri. Thereafter, Brian Hudnall transferred approximately $4 million to the
Kansas Oil Reserve 2 U.S. Bank account from the DonDon account. Brian Hudnall
retained approximately $58,000 of the investor monies in the DonDon account.
Brian Hudnall transferred $34,000 to other accounts, payed over $15,000 in
American Express charges, and withdrew approximately $6,000 in cash.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this
plea agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines, including the calculation of the defendant’s offense

level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant acknowledges, understands, and

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agrees that all other uncharged related criminal activity may be considered as “relevant conduct”
pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charge to which he is
pleading guilty.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to
Count One of the Information charging him with conspiracy to commit money laundering, the
maximum penalty the Court may impose is not more than 10 years of imprisonment, a $250,000
fine, 3 years of supervised release, and a $100 mandatory special assessment which must be paid
in full at the time of sentencing.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the
following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court may impose a term
of supervised release of up to three years; that the Court must impose a period of
supervised release if a sentence of imprisonment of more than one year is imposed;

d. if the defendant violates a condition of his supervised release, the Court
may revoke his supervised release and impose an additional period of
imprisonment of up to two years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed three
years, less the term of imprisonment imposed upon revocation of the defendant’s
first supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

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f. any sentence of imprisonment imposed by the Court will not allow for
parole;

g. the Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office;

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court;

i. the defendant agrees that the United States may institute civil,
judicial, or administrative forfeiture proceedings against all forfeitable assets in
which the defendant has an interest, and that he will not contest any such forfeiture
proceedings;

j. the defendant agrees to forfeit all interests he owns or over which he
exercises control, directly or indirectly, in any asset that is subject to forfeiture to
the United States either directly or as a substitute for property that was subject to
forfeiture but is no longer available for the reasons set forth in 21 U.S.C. § 853(p)
(which is applicable to this action pursuant to 18 U.S.C. § 982(b)(1). With respect
to any asset which the defendant has agreed to forfeit, the defendant waives any
constitutional and statutory challenges in any manner (including direct appeal,
habeas corpus, or any other means) to any forfeiture carried out in accordance with
this plea agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment under the Eighth Amendment to the United States
Constitution;

k. the defendant agrees to fully and truthfully disclose the existence, nature
and location of all assets forfeitable to the United States, either directly or asa
substitute asset, in which he, his co-defendants and his co-conspirators have or had
any direct or indirect financial interest, or exercise or exercised control, directly or
indirectly, during the period from January 2014 to the present. The defendant also
agrees to fully and completely assist the United States in the recovery and forfeiture
of all such forfeitable assets;

l. the defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before his sentencing;

m. within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that the
United States will use the financial information when making its recommendation
to the Court regarding the defendant’s acceptance of responsibility; and

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n. at the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning

the identification and recovery of forfeitable assets and restitution.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against defendant for any federal fraud offenses that
occurred in 2018 and 2019 and arose out of the defendant’s conduct described above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreements above are based solely on the
promises made by the defendant in this agreement. If the defendant breaches this plea agreement,
the United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives his right to challenge the
initiation of the dismissed or additional charges against him or the civil forfeiture case, if he
breaches this agreement. The defendant expressly waives his right to assert a statute of limitations
defense if the dismissed or additional charges are initiated against him following a breach of this
agreement. The defendant further understands and agrees that if the Government elects to file
additional charges against him following his breach of this plea agreement, he will not be allowed
to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States will

provide to the Court and the United States Probation Office a government version of the offense

conduct. This may include information concerning the background, character, and conduct of the

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defendant, including the entirety of his criminal activities. The defendant understands these
disclosures are not limited to the counts to which he has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal.

10. Agreed Guidelines Applications. With respect to the application of the Sentencing
Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

b. The applicable Guidelines section for the money laundering offense of
conviction is U.S.S.G. § 2S1.1(a)(1), which states that the base offense level for the

underlying offense which the laundered funds were derived should be applied if the
defendant committed the underlying offense.

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c. The applicable Guidelines section for the underlying offense of wire
fraud is U.S.S.G. §§ 2B1.1(a)(1) and (b)(1)(1) resulting in a base offense level
of 23;

d. The parties agree that the defendant was a minor participant in the
criminal activity and therefore the offense level should be reduced two levels.
U.S.S.G. § 3B1.2(b);

e. The parties do not agree on any other enhancements for the offense and
are free to assert or deny the application of any enhancement;

f. The defendant has admitted his guilt and clearly accepted responsibility
for his actions, and has assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention to enter a plea of
guilty, thereby permitting the Government to avoid preparing for trial and
permitting the Government and the Court to allocate their resources efficiently.
Therefore, he is entitled to a three-level reduction pursuant to § 3E1.1(b) of the
Sentencing Guidelines. The Government, at the time of sentencing, will file a
written motion with the Court to that effect, unless the defendant (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

g. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

h. The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does not
bind the Court or the United States Probation Office with respect to the appropriate
Guidelines levels. Additionally, the failure of the Court to accept these stipulations
will not, as outlined in Paragraph 9 of this plea agreement, provide the defendant
with a basis to withdraw his plea of guilty;

i. The United States agrees not to seek an upward departure from the
Guidelines or a sentence outside the Guidelines range. The defendant may seek a
sentence outside of the guideline range. The agreement by the Government to not
seek a departure from the Guidelines is not binding upon the Court or the United
States Probation Office and the Court may impose any sentence authorized by
law, including any sentence outside the applicable Guidelines range that is
not “unreasonable”;

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j. The defendant consents to judicial fact-finding by a preponderance of
the evidence of any contested issues pertaining to the determination of the
defendant’s sentence under the United States Sentencing Guidelines. The
defendant waives any right to a jury determination beyond a reasonable doubt of
all facts used to determine and enhance the sentence imposed, and waives any right
to have those facts alleged in the Information. The defendant also agrees that the
Court, in finding the facts relevant to the imposition of sentence under the
Guidelines, may consider any reliable information, including hearsay; and

k. The defendant understands and agrees that the factual admissions
contained in Paragraphs 3 and 4 of this plea agreement and any admissions that he

will make during his plea colloquy, support the imposition of the agreed Guidelines

calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge, and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10 and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the plea
agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal
charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United
States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant at he
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

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b. comment on the evidence supporting the charges in the information;

c. oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or other
relief.

14, Waiver of Constitutional Rights. The defendant, by pleading guilty, acknowledges
that he has been advised of, understands, and knowingly and voluntarily waives the following
rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective assistance
of counsel;

d. the right to confront and cross-examine the witnesses who testify against
him;

e. the right to compel or subpoena witnesses to appear on his behalf; and

f. the right to remain silent at trial, in which case his silence may not be
used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may

later be used against him in a prosecution for perjury or making a false statement. The defendant

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also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or
register to vote, hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b. The defendant expressly waives his right to appeal his sentence, directly
or collaterally, on any ground except claims of (1) ineffective assistance of counsel;
(2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal sentence”
includes a sentence imposed in excess of the statutory maximum, but does not
include less serious sentencing errors, such as a misapplication of the Sentencing
Guidelines, an abuse of discretion, or the imposition of an unreasonable sentence.
However, if the United States exercises its right to appeal the sentence imposed as
authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
may, as part of the Government’s appeal, cross-appeal his sentence as authorized
by 18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to
or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant represents
that he understands and agrees to the following financial obligations:

a. The Court may order restitution to the victims of the offenses to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with all other uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

c. The defendant will fully and truthfully disclose all assets and property in
which he has any interest, or over which the defendant exercises control directly or
indirectly, including assets and property held by a spouse, nominee or other third
party. The defendant’s disclosure obligations are ongoing, and are in force from
the execution of this agreement until the defendant has satisfied the restitution order
in full.

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d. Within 10 days of the execution of this plea agreement, at the request
of the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3)a
completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the
United States makes a recommendation to the Court regarding the defendant's
acceptance of responsibility. :

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

f. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

g. The defendant understands that a Special Assessment will be imposed as
part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

h. The defendant certifies that he has made no transfer of assets or property
for the purpose of (1) evading financial obligations created by this agreement:
(2) evading obligations that may be imposed by the Court; nor (3) hindering efforts
of the USAO to enforce such financial obligations. Moreover, the defendant
promises that he will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000) or more, the
United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered plea of guilty shall remain in effect and cannot be
withdrawn.

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17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted
directly or by a representative, to request or receive from any department or agency of the
United States any records pertaining to the investigation or prosecution of this case including,
without limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C.
§ 552, or the Privacy Act of 1974, 5 U.S.C. 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims under
the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising
out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,

Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,

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orany other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice,
and approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree that
the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

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drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Dated: a if F / 3D

  

   

Kathléen D. Mahoney
Assistant United States Attorney

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the information. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea
agreement and I voluntarily agree to it.

Dated: 6]11 20

 

 

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I am defendant Brian Hudnall’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the information. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. | have carefully reviewed
every part of this plea agreement with him. To my knowledge, Brian Hudnall’s decision to enter
into this plea agreement is an informed and voluntary one.

Dated: ¢/ 2] 20 Nia I? Hid,

James R. Hobbs
Attorney for Defendant Brian Hudnall

 

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